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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             2:16-CR-00025-TLN
12                  Plaintiff,
                                                           FINAL ORDER OF FORFEITURE
13           v.
14   PEDRO FUENTES, and
     LEONEL VILLA LOPEZ,
15
                    Defendants.
16

17

18           On September 7, 2017, this Court entered a Preliminary Order of Forfeiture pursuant to the

19 provisions of 21 U.S.C. § 853(a), based upon the plea agreement entered into between plaintiff and
20 defendant Leonel Villa Lopez forfeiting to the United States the following property:

21                  a.      Approximately $5,466.00 in U.S. Currency.

22           On or about October 10, 2018, this Court entered a Preliminary Order of Forfeiture pursuant to

23 the provisions of 21 U.S.C. § 853(a), based upon the plea agreement entered into between plaintiff and

24 defendant Pedro Fuentes forfeiting to the United States the following property:

25                  a.      Approximately $5,300.00 in U.S. Currency, and

26                  b.      Approximately $11,485.00 in U.S. Currency.

27           Beginning on September 28, 2017, for at least 30 consecutive days, the United States published

28 notice of the Court’s Order of Forfeiture regarding Leonel Villa Lopez on the official internet
                                                       1
29                                                                                         Final Order of Forfeiture

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 1 government forfeiture site www.forfeiture.gov. Beginning on November 10, 2018, for at least 30

 2 consecutive days, the United States published notice of the Court’s Order of Forfeiture regarding Pedro

 3 Fuentes on the official internet government forfeiture site www.forfeiture.gov. Said published notice

 4 advised all third parties of their right to petition the Court within sixty (60) days from the first day of

 5 publication of the notices for a hearing to adjudicate the validity of their alleged legal interest in the

 6 forfeited property.

 7          The United States sent direct written notice by certified mail to the following individuals known

 8 to have an alleged interest in the property:
 9                    a.    Mariela Ramirez: A notice letter was sent via certified mail to Mariela Ramirez at
                            1139 Melton Drive, Apartment #2, Yuba City, CA 95991 on September 6, 2017.
10                          The envelope was returned to our office as “unclaimed” on November 3, 2017.
11                    b.    Leonard Gastelum Lopez and Abraham Gastelum Lopez: Notice letters were sent
                            via certified mail to Leonard Gastelum Lopez and Abraham Gastelum Lopez at
12                          5636 Nona Way, Sacramento, CA 95824 on November 28, 2018. The PS Forms
                            3811 (certified mail “green card” showing delivery of mail) were signed on
13                          November 29, 2018.
14                    c.    Rafael Villalobos-Mendoza: A notice letter was sent via certified mail to Rafael
                            Villalobos-Mendoza at 3731 43rd Street, Sacramento, CA 95820 on November 28,
15                          2018. The envelope was returned to our office as “not deliverable as addressed,
                            unable to forward” on December 26, 2018.
16
                      d.    Rafael Villalobos-Mendoza: A notice letter was sent via certified mail to Rafael
17                          Villalobos-Mendoza at the Sutter County Jail at 1077 Civic Center Blvd., Yuba
                            City, CA 95993 on November 28, 2018. The envelope was returned to our office
18                          with “not in custody” handwritten on the envelope on December 6, 2018.
19                    e.    Megan Comer: A notice letter was sent via certified mail to Megan Comer at 670
                            Miller Road, Yuba City, CA 95948 on November 29, 2018. The envelope was
20                          returned to our office as “not deliverable as addressed, unable to forward” on
                            January 3, 2019.
21

22          The Court has been advised that no third party has filed a claim to the subject property, and the

23 time for any person or entity to file a claim has expired.

24          Accordingly, it is hereby ORDERED and ADJUDGED:

25          1.       A Final Order of Forfeiture shall be entered forfeiting to the United States all right, title,

26 and interest in the below-listed property pursuant to 21 U.S.C. § 853(a), including all right, title, and

27 interest of Pedro Fuentes, Leonel Villa Lopez, Mariela Ramirez, Leonard Gastelum Lopez, Abraham

28 Gastelum Lopez, Rafael Villalobos-Mendoza, and Megan Comer:
                                                  2
29                                                                                               Final Order of Forfeiture

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 1                   a.      Approximately $5,466.00 in U.S. Currency, plus any accrued interest,
                     b.      Approximately $5,300.00 in U.S. Currency, plus any accrued interest, and
 2                   c.      Approximately $11,485.00 in U.S. Currency, plus any accrued interest.
 3          2.       All right, title, and interest in the above-listed property shall vest solely in the name of the

 4 United States of America.

 5          3.       The U.S. Marshals Service shall maintain custody of and control over the subject

 6 property until it is disposed of according to law.

 7          4.       Within sixty (60) days from entry of this Final Order of Forfeiture forfeiting the above-

 8 listed property, the U.S. Marshals Service shall return $2,464.00 in U.S. Currency, plus any accrued
 9 interest, to defendant Pedro Fuentes through attorney Todd Leras.

10          SO ORDERED this 11th day of February, 2019.

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14                                             Troy L. Nunley
                                               United States District Judge
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29                                                                                               Final Order of Forfeiture

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